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 1                                                        THE HONORABLE BENJAMIN H. SETTLE

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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 8
 9   COMMANDER EMILY SHILLING; et al.,                          No. 2:25-cv-241 (BHS)

10                                Plaintiffs,                   PLAINTIFFS’ SUPPLEMENTAL
                                                                BRIEF IN RESPONSE TO COURT
11                           v.                                 ORDER (DKT. 95) AND IN
                                                                FURTHER SUPPORT OF MOTION
12   DONALD J. TRUMP, in his official capacity as               FOR PRELIMINARY
     President of the United States; et al.,                    INJUNCTION
13
                                  Defendants.                   ORAL ARGUMENT REQUESTED
14
                                                                NOTE ON MOTION CALENDAR:
15                                                              MARCH 25, 2025

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 1     I.   INTRODUCTION

 2          On March 21, 2025, the person performing the duties of the Under Secretary of Defense

 3   for Personnel and Readiness issued a new memorandum, titled “Prioritizing Military Excellence

 4   and Readiness: Military Department Identification” (Dkt. 92-1, “March 21 Guidance”), providing

 5   further guidance on the implementation of Executive Order 14183 (the “Military Ban”). The

 6   March 21 Guidance reasserts the incredibly broad and categorical nature of the Ban, including the

 7   “Department policy that Service members who have a current diagnosis or history of, or exhibit

 8   symptoms consistent with, gender dysphoria are no longer eligible for military service and will be

 9   processed for separation.” Dkt. 92-1 at 1.

10          That same day, Defendants sought to dissolve the preliminary injunction issued in Talbott

11   v. United States, No. 1:25-cv-00240-ACR, arguing that the March 21 Guidance “confirms that the

12   phrase ‘exhibit symptoms consistent with gender dysphoria’ refers to the diagnostic criteria

13   outlined in the Diagnostic and Statistical Manual of Mental Disorders,” and that therefore the Ban

14   and its implementing guidance do not represent a categorical bar on transgender people serving in

15   the military. See Defs’ Mot. to Dissolve, Talbott v. United States, No. 1:25-cv-00240-ACR (D.D.C.

16   filed Mar. 21, 2025), at 2. This is not the case.

17          The March 21 Guidance does not undermine Plaintiffs’ arguments in support of a motion

18   for a preliminary injunction. It does nothing to cure the animus-laden nature of the Ban. Indeed,

19   if anything, the guidance provides further support for Plaintiffs’ arguments that the Ban and its

20   implementing guidance are unconstitutional.              The March 21 Guidance demonstrates the

21   categorical nature of the Ban. It also provides further proof that the Ban is not the product of “a

22   meaningful exercise of military judgment,” Karnoski v. Trump, 926 F.3d 1180, 1201 (9th Cir.

23   2019), but rather a rush to judgment to excise from the military any person who expresses a

24   “‘gender identity’ divergent from [their] [birth] sex” because expressing such an identity is

25   purportedly “false” and “cannot satisfy the rigorous standards necessary for Military service.” Dkt.

26   58-4 (February 7 Hegseth Memo, quoting Executive Order 14183).

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 1           Accordingly, the Court should, like the court in Talbott and the court in Ireland v. Hegseth,

 2   No. 1:25-cv-01918-CPO-AMD (D.N.J. Mar. 24, 2025), 1 enjoin the implementation,

 3   administration, and enforcement of the Ban and its related guidance and directives.

 4    II.    ARGUMENT

 5           A. The March 21 Guidance Reifies that the Military Ban Categorically Bars
                Transgender Persons from Military Service.
 6
             In their motion to dissolve in Talbott, Defendants misleadingly argued that the March 21
 7
     Guidance clarified the ban on military service is based on gender dysphoria and not transgender
 8
     status. This is untrue; it is also a distinction without a difference.
 9
             The March 21 Guidance uses the same language as the February 26 Guidance, which the
10
     Department of Defense (“DoD”) stated meant that “[t]ransgender troops are disqualified from
11
     service.” Dkt. 61-2 (emphasis added). Defendants have not disavowed such characterization. Nor
12
     does the March 21 Guidance supplant the Ban’s and Secretary Hegseth’s proclamation that
13
     “expressing a false ‘gender identity’ divergent from an individual’s sex cannot satisfy the rigorous
14
     standards necessary for military service.” Military Ban § 1 (Purpose); see also Dkt. 58-4.
15
             As Plaintiffs argue in their briefing, the Military Ban and its related guidance categorically
16
     bar any transgender person from serving in the military. Indeed, Defendants concede that even
17
     taking the March 21 Guidance into account, it is the policy of the DoD, pursuant to Executive
18
     Order 14183, to exclude from military service anyone who will not live in accordance with their
19
     birth sex. Exhibit 38, 31:11-17 (“THE COURT: But the policy also requires them to live in their
20
     biological sex; right? So you would cover anyone who has transitioned. That would cover anyone
21
     who has transitioned or has attempted to transition even non-medically. MS. LIN: Yes.”), 31:18-
22
     22 (“THE COURT: Okay. I just want to make sure that the DoD policy, the Hegseth policy, putting
23

24           1
              On March 24, 2025, the district in Ireland granted the temporary restraining order (TRO)
     request by plaintiffs, two transgender men currently serving in the Air Force, enjoining defendants
25   from “initiating administrative separation proceedings against Plaintiffs based on their transgender
     status” and “from enforcing or implementing any aspect of the Orders as to Plaintiffs.” See
26   Gonzalez-Pagan Decl., Exhibit 37 (“Ireland Order”).

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 1   the exemption aside, excludes from military service anyone who won’t live in their biological sex;

 2   right? It’s one of the criteria. MS. LIN: Correct.”). 2 And as Dr. Ettner has testified, “[b]y

 3   purporting to allow only those individuals who never acknowledge or act upon their identity

 4   incongruent with their birth-assigned sex to remain in service, the policy ensures that any openly

 5   transgender individual will ultimately be pushed out from or be unable to join the military.” Dkt.

 6   85, ¶12. “This is not a meaningful distinction—it is simply an indirect way of achieving the same

 7   result.” Id. Indeed, the Supreme Court has “declined to distinguish between status and conduct”

 8   in analogous contexts. Christian Legal Soc’y Chapter of the Univ. of California, Hastings Coll.

 9   of the L. v. Martinez, 561 U.S. 661, 689 (2010); see also Lawrence v. Texas, 539 U.S. 558, 583

10   (2003) (O’Connor, J., concurring) (Where “the conduct targeted by th[e] law … is closely

11   correlated” with the status of being gay, the law “is targeted at more than conduct,” “[i]t is instead

12   directed toward gay persons as a class.”); Bray v. Alexandria Women’s Health Clinic, 506 U.S.

13   263, 270 (1993); cf. Castaneda v. Partida, 430 U.S. 482, 495 (1977).

14          The March 21 Guidance reasserts the Ban and the February 26 Guidance by declaring that

15   anyone who has “a current diagnosis or history of, or exhibit symptoms consistent with, gender

16   dysphoria” is barred from military service. This is a categorical ban on transgender people serving

17   in the military. As Defendants have conceded, only people who are transgender can have gender

18   dysphoria, and therefore every person barred on the basis of a gender dysphoria diagnosis is a

19   transgender person. See Exhibit 38, 23:18-22 (“THE COURT: Okay. … you would agree with

20   me that everyone with gender dysphoria is transgender; right? MS. LIN: Yes.”), 24:11-17 (“THE

21   COURT: People with gender dysphoria are a subset of transgender people; right? MS. LIN: Yes.

22   THE COURT: Okay. So when you are getting rid of everybody with gender dysphoria, everybody

23   that you are getting rid of is transgender; right? MS. LIN: That they’re trans identifying, yes.”).

24
            2
              A copy of the transcript of the March 21, 2025 hearing pertaining to Defendants’ motion
25   to dissolve in Talbott is attached as Exhibit 38 to the Declaration of Omar Gonzalez-Pagan.
     Unless otherwise noted, all exhibits referenced herein are attached to the Declaration of Omar
26   Gonzalez-Pagan.

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 1   See also Dkt. 82, at 6 (citing Kadel v. Folwell, 100 F.4th 122, 149 (4th Cir. 2024) (en banc); C.P.

 2   ex rel. Pritchard v. Blue Cross Blue Shield of Ill., 2022 WL 17788148, at *6 (W.D. Wash. Dec. 19,

 3   2022) (Bryan, J.)).

 4          Moreover, by referencing “symptoms consistent with[] gender dysphoria,” the March 21

 5   Guidance (and other guidance implementing the Ban) casts a very wide net. That is because even

 6   “[t]he mere acknowledgment of being transgender inherently reveals a disconnect between one’s

 7   gender identity and assigned birth sex, which would be considered a ‘symptom’ of gender

 8   dysphoria and implies the potential for transition.” Dkt. 85, ¶10. Defendants nonetheless try to

 9   argue this is somehow narrower because it is limited to the diagnostic criteria contained in the

10   DSM-5.     Not so.    The DSM-5’s diagnostic criterion for gender dysphoria of “[a] marked

11   incongruence between one’s experienced/expressed gender and natal gender” can be “manifested

12   by,” inter alia, “[a] strong desire to be treated as the other gender,” “[a] strong desire to be of the

13   other gender,” or “[a] marked incongruence between one’s experienced/expressed gender and

14   primary and/or secondary sex characteristics.” Dkt. 92-1 (Attachment 2, “DSM-5 Criteria for

15   Gender Dysphoria”). 3

16          Simply put, the March 21 Guidance does not alter the scope of the Ban. Rather, it reifies

17   that the Ban and its implementing guidance cast aspersions and bar transgender people from

18   military service because of their transgender status. Even taking into account the March 21

19   Guidance, no transgender person can openly serve in the military, and every one of the individual

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21
            3
               Evincing the lack of care and deliberation that characterizes the Ban and its related
22   guidance, the March 21 Guidance misstates the DSM-5’s diagnostic criteria for gender dysphoria,
     stating that the criteria are “a marked incongruence and clinically significant distress or impairment
23   for at least 6 months.” Dkt. 92-1, at 1 n.1. Again, this is incorrect. The six-month duration
     requirement pertains solely to the marked incongruence criterion and not the distress or impairment
24   criterion. As the DSM-5 criteria attached to the March 21 Guidance show, a gender dysphoria
     diagnosis is applicable when there is “[a] marked incongruence between one’s experienced/
25   expressed gender and natal gender of at least 6 months in duration” and “[t]he condition is
     associated with clinically significant distress or impairment in social, occupational, or other
26   important areas of functioning.” Dkt. 92-1 (Attachment 2) (emphasis added).

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 1   Plaintiffs would be barred from military service, regardless of their records of distinction and

 2   honorable service.

 3          B. The March 21 Guidance Documents Defendants’ Ever-Shifting Attempts to
               Post-Hoc Justify the Animus-based Ban.
 4
            As Plaintiffs have demonstrated in their briefing, and as the Talbott court held, the Ban is
 5
     based on animus towards transgender people. Nothing in the March 21 Guidance changes the fact
 6
     that the Ban is based on the premise that being transgender is inconsistent with “honesty, humility,
 7
     … and integrity.” Military Ban §2; Dkt. 58-7, §1(b). And as the Supreme Court has articulated,
 8
     “identif[ying] persons by a single trait and then den[ying] them protection across the board,”
 9
     constitutes “a denial of equal protection of the laws in the most literal sense.” Romer v. Evans, 517
10
     U.S. 620, 633-34 (1996). 4
11
            If anything, the March 21 Guidance further demonstrates that even at this late stage,
12
     Defendants are still searching for a justification for the Ban they are implementing. It is, in other
13
     words, just part of “a biased effort to justify a predetermined outcome, not a fair analysis of the
14
     evidence.” Dekker v. Weida, 679 F. Supp. 3d 1271, 1281 (N.D. Fla. 2023), appeal pending, No.
15
     23-12155 (11th Cir.). The Court should not countenance this exercise in throwing spaghetti at the
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     wall to see what sticks. As the Ninth Circuit recognized in Karnoski, under our Constitution, the
17
     justifications proffered by the government for a policy that discriminates against a class of people
18
     “‘must be genuine, not hypothesized or invented post hoc in response to litigation.’” Karnoski,
19
     926 F.3d at 1200 (quoting United States v. Virginia, 518 U.S. 515, 533 (1996)).
20
            Indeed, the March 21 Guidance evinces the haphazard nature with which this animus-laden
21
     Ban is being implemented. It is further proof that the Ban is not the product of reasoned
22
     independent military judgment, but rather a rushed directive to remove from the military anyone
23

24          4
              The court can also take note of the Secretary of Defense’s own statements, which further
     demonstrate the animus that motivates the Ban. On March 22, 2025, in response to a news story
25   about the preliminary injunction in Talbott, Defendant Hegseth tweeted that “Since “Judge” Reyes
     is now a top military planner, she/they can report to Fort Benning at 0600,” derisively
26   misgendering Judge Reyes and mocking the use pronouns. See Exhibit 39.

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 1   who is transgender. To be clear, the March 21 Guidance is not based on any new studies, reports,

 2   panels, or surveys; it is based on the same stale and speculative misinformation as the Ban’s prior

 3   guidance. And like the February 26 Action Memo (Dkt. 71-1), it ignores unrefuted evidence

 4   undermining the Ban’s antagonistic contentions about transgender people’s fitness for service:

 5   years of experience and numerous declarations demonstrating that transgender servicemembers

 6   like Plaintiffs enhance rather than undermine military readiness and unit cohesion.

 7          One need only take stock of Defendants’ concessions after the issuance of the March 21

 8   Guidance. For example, Defendants concede that they do not even know how many people in the

 9   military have gender dysphoria. Exhibit 38, 17:6-10 (“THE COURT: Okay. So you don’t know

10   today how many people have gender dysphoria in the military; right? MS. LIN: That’s correct.

11   THE COURT: Because you don’t track that; right? MS. LIN: Correct.”). And they have not

12   investigated whether there are any complaints pertaining to servicemembers with a “diagnosis or

13   history of, or exhibit symptoms consistent with, gender dysphoria” that relate to military readiness

14   or unit cohesion. Id., 17:11-24. Indeed, they have presented no such evidence in this case either

15   generally or as it pertains to any of the Active-Duty Plaintiffs. Id., 18:16-21 (“THE COURT: In

16   any event, you can’t tell me right now, there’s nothing in the record right now that tells me how

17   many complaints there have been with respect to unit cohesion and military readiness, right, with

18   respect to gender dysphoria? MS. LIN: It’s not in the record.”).

19          C. The March 21 Guidance Shows the Lack of Justifications for the Ban.
20          Following the issuance of the March 21 Guidance, Defendants conceded that the March 21
21   Guidance had no effect on the Defendants’ justifications for the Ban based on military readiness,
22   unit cohesion, or costs. For example, Defendants conceded that they still have no evidence that
23   people with gender dysphoria are inherently unfit to serve in the military. Exhibit 38, 19:17-20.
24   They also conceded that they have no evidence that having gender dysphoria is inconsistent with
25   honesty, humility, and integrity. Id., 19:21-24. Indeed, Defendants have admitted that the March
26   21 Guidance has no bearing on the analysis on military readiness of excising potentially thousands

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 1   of transgender people from the military. Id., 22:20-25. And Defendants have admitted that the

 2   March 21 Guidance provides no evidence refuting the numerous declarations from former military

 3   officials who were involved in openly integrating transgender people into the military. Id., 23:4:9.

 4          In addition, the March 21 Guidance illustrates how costs and the impact on the public fisc

 5   do not provide a justification for the Ban. Under the March 21 Guidance, the true purpose of

 6   which is to delineate the ways in which Defendants will go about the task of identifying transgender

 7   people for involuntary separation from the military, Defendants will undertake a review of the

 8   medical records of millions of servicemembers in order to try to identify the transgender

 9   servicemembers who have been diagnosed with (or exhibited symptoms of) gender dysphoria at

10   any point. Such an extensive review of records would be no small or inexpensive task. Nor would

11   discharging thousands of servicemembers: As Judge Pechman previously observed, “the cost to

12   discharge transgender service members is estimated to be more than 100 times greater than the

13   cost to provide transition-related healthcare.” Karnoski v. Trump, No. C17-1297-MJP, 2017 WL

14   6311305, at *8 (W.D. Wash. Dec. 11, 2017).

15          D. The Ban Has Already Adversely Impacted Plaintiffs Shilling and Dremann.
16          Consistent with the Court’s March 4, 2025 Minute Order requiring “the Government to
17   immediately notify Plaintiffs and the Court before any changes are made to Plaintiffs’ status quo
18   in any respect,” Dkt. 57, and with counsel’s duties to the Court, Plaintiffs hereby inform the Court
19   that Plaintiffs Commander Emily Shilling and Commander Blake Dremann have already been
20   negatively affected by the Ban.
21          Because the Ban and its implementing guidance remain in effect and the impending
22   deadline of March 28, 2025 set by Defendants for voluntary separation is fast approaching,
23   Plaintiffs Shilling and Dremann felt compelled to preemptively file for so-called “voluntary”
24   separation under the Temporary Early Retirement Authority (TERA) set by the February 26
25   Guidance. See Shilling Suppl. Decl. ¶ 8; Dremann Suppl. Decl. ¶ 7. This election was not
26   voluntary but rather forced and coerced because neither Plaintiff Shilling nor Plaintiff Dremann

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 1   want to separate or retire from the United States Navy at this time, and both hope and desire that

 2   a preliminary injunction in this case would toll their separation date and, should the courts

 3   ultimately find in their favor, intend to withdraw their applications for early retirement under

 4   TERA. See Shilling Suppl. Decl. ¶¶ 6, 11-12; Dremann Suppl. Decl. ¶¶ 5, 10-11.

 5           As a result of their forced filing, Commanders Shilling and Dremann are now considered

 6   non-deployable under the Ban’s implementing guidance. See Exhibit A to Dremann Suppl. Decl.

 7   Both Plaintiffs have chosen the latest possible retirement date allowed by Defendant United States

 8   Navy (June 1, 2025) and have only opted for this option because not doing so would result in their

 9   involuntary separation, if the Ban were not enjoined, and loss of benefits and discharge status

10   available through so-called “voluntary separation.” See Shilling Suppl. Decl. ¶¶ 9-10; Dremann

11   Suppl. Decl. ¶¶ 8-9.

12           In light of these developments, Plaintiffs are submitting an amended proposed order asking

13   the Court to order (1) such applications for voluntary separation be held in abeyance; (2) that

14   Plaintiffs Shilling and Dremann not be placed in administrative non-deployable status; and (3) that

15   any chosen separation or retirement date pursuant to their applications be tolled during the

16   pendency of this case. 5

17   III.    CONCLUSION

18           For the foregoing reasons, the Court should grant Plaintiffs’ motion for a preliminary

19   injunction.

20

21           Pursuant to Local Rules W.D. Wash. LCR 7(e)(6), I certify that this memorandum contains

22   2,848 words.

23

24           Dated this 25th day of March 2025.

25
             5
            The Amended Proposed Order also adds Plaintiff Sierra Moran, who was added in the
26   Amended Complaint (Dkt. 59) to the relief requested.

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